                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                 CASE NO. 5:20-CV-00I23-FL


KELLY STAFFORD; GRASS ROOTS
NORTH CAROLINA;SECOND
AMENDMENT FOUNDATION;and
FIREARMS POLICY COALITION,
INC.,

                                 Plaintiffs,




 GERALD M.BAKER,in his official
 capacity as Sheriff of Wake County,
 North Carolina,
                                Defendant.



                        NOTICE OF SUBSTITUTION OF COUNSEL


       Pursuant to Local Rule 5.2(c), please take notice that J. Nicholas Ellis of Poyner Spruill

LLP, hereby replaces Paul G. Gessner of the Wake County Sheriffs Office, as counsel for

Defendant Gerald M. Baker in the above-entitled action. Mr. Ellis is aware of and will comply

with all pending deadlines in the case, including any scheduled trial or hearings.

       Respectfully submitted this the 30^ day of July, 2020.


/s/ J. Nicholas Ellis
J. Nicholas Ellis
N.C. State Bar No.13484                              s/ Paul G. Gessner
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